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   1    Lee Gelernt*                              Bardis Vakili (SBN 247783)
        Judy Rabinovitz*                          ACLU FOUNDATION OF SAN
   2    Anand Balakrishnan*                       DIEGO & IMPERIAL COUNTIES
   3    AMERICAN CIVIL LIBERTIES                  P.O. Box 87131
        UNION FOUNDATION                          San Diego, CA 92138-7131
   4    IMMIGRANTS’ RIGHTS PROJECT                T: (619) 398-4485
   5    125 Broad St., 18th Floor                 F: (619) 232-0036
        New York, NY 10004                        bvakili@aclusandiego.org
   6    T: (212) 549-2660
   7    F: (212) 549-2654
        lgelernt@aclu.org
   8    jrabinovitz@aclu.org
   9    abalakrishnan@aclu.org
  10    Attorneys for Petitioners-Plaintiffs *Admitted Pro Hac Vice
  11    Additional counsel on next page
                             UNITED STATES DISTRICT COURT
  12
                          SOUTHERN DISTRICT OF CALIFORNIA
  13

  14
       Ms. L. et al.,                                     Case No. 18-cv-00428-DMS-
  15                                                      MDD
                            Petitioners-Plaintiffs,
  16
       v.
  17
                                                          Date Filed: April 27, 2018
  18
       U.S. Immigration and Customs Enforcement
       (“ICE”); U.S. Department of Homeland Security
  19   (“DHS”); U.S. Customs and Border Protection
  20
       (“CBP”); U.S. Citizenship and Immigration          PLAINTIFFS’ REPLY IN
       Services (“USCIS”); U.S. Department of Health      SUPPORT OF MOTION FOR
  21   and Human Services (“HHS”); Office of              CLASS CERTIFICATION
  22
       Refugee Resettlement (“ORR”); Thomas
       Homan, Acting Director of ICE; Greg
  23   Archambeault, San Diego Field Office Director,     Hearing Date: May 4, 2018
  24   ICE; Joseph Greene, San Diego Assistant Field      Time: 1:30 p.m.
       Office Director, ICE; Adrian P. Macias, El Paso    Courtroom: 13A
  25   Field Director, ICE; Frances M. Jackson, El Paso   Judge: Dana M. Sabraw
  26   Assistant Field Office Director, ICE; Kirstjen
       Nielsen, Secretary of DHS; Jefferson Beauregard
  27   Sessions III, Attorney General of the United
  28   States; L. Francis Cissna, Director of USCIS;
       Kevin K. McAleenan, Acting Commissioner of
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   1   CBP; Pete Flores, San Diego Field Director,
       CBP; Hector A. Mancha Jr., El Paso Field
   2   Director, CBP; Alex Azar, Secretary of the
   3   Department of Health and Human Services;
       Scott Lloyd, Director of the Office of Refugee
   4   Resettlement,
   5

   6                         Respondents-Defendants.
   7

   8

   9

  10   Spencer E. Amdur (SBN 320069)
       AMERICAN CIVIL LIBERTIES UNION FOUNDATION
  11   IMMIGRANTS’ RIGHTS PROJECT
  12   39 Drumm Street
       San Francisco, CA 94111
  13
       T: (415) 343-1198
  14   F: (415) 395-0950
       samdur@aclu.org
  15

  16

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  1                                       INTRODUCTION
  2          This is a prototypical civil rights class action lawsuit. The plaintiffs are far
  3    too numerous to proceed individually, the defendants are federal agencies, and there
  4    are numerous common issues. The government does not dispute that there are
  5    numerous putative plaintiffs, nor could they. The affidavits state that there are
  6    hundreds of families throughout the country that have been separated. In fact, it
  7    was just revealed that the number may be as large as 700 families, with more than
  8    100 cases involving children less than 4 years old. Caitlin Dickerson, Hundreds of
  9    Children Have Been Taken from Parents at U.S. Border, N.Y. Times, Apr. 20,
 10    2018. Defendants also do not dispute that they are, in fact, separating hundreds of
 11    families without a showing that the parent presents a danger to the child.
 12          Defendants nonetheless seek to defeat class certification by attempting to
 13    pick off the two named plaintiffs, arguing that Ms. C. and Ms. L. are not adequate
 14    representatives because their cases are moot. But the cases are plainly not moot for
 15    a variety of reasons, including that the relief they seek–reunification–did not occur
 16    before the class certification motion was filed (and in Ms. C’s case, has still not
 17    occurred). Defendants should not be permitted to thwart judicial scrutiny of their
 18    widespread separation practice simply by mooting individual plaintiffs. That is
 19    particularly so in a case where Defendants control access to the hundreds of
 20    detained parents and children. 1
 21          Defendants alternatively argue that class certification should be denied
 22    because there are certain differences among class members. But the presence of
 23
       1
 24      Notwithstanding the enormous difficulty of locating these families, who are
       scattered throughout the country, Plaintiffs have managed to locate at least some
 25    additional families and are submitting their declarations with this brief, should the
 26    Court wish to add additional parents who remain detained, including within this
       District. See, e.g., Declaration of Mr. U., Ex. 21 (detained at Otay Mesa). See also
 27    Declaration of Ms. G., Ex. 22; Declaration of Ms. M.M.A.L., Ex. 23; Declaration of
 28    J.I.L., Ex. 24; Declaration of Mirian, Ex. 25; Declaration of Mr. A., Ex. 26 (all
       parents in ICE detention and separated from their children).
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   1   potential factual differences (even assuming they exist) does not defeat class
   2   certification where, as here, there are multiple critical questions common to all
   3   plaintiffs. Defendants suggest that such questions do not exist in this case, but they
   4   themselves raise those questions with respect to all class members, including
   5   whether these families even have a due process right to remain together.
   6
          I.      PLAINTIFFS’ CLAIMS ARE NOT MOOT, AND THEY EASILY
   7              SATISFY RULE 23’S ADEQUACY REQUIREMENTS.
   8           The government repackages its mootness arguments as challenges to Ms. L.’s
   9   and Ms. C.’s adequacy as class representatives. ECF No. 59 at 6-7. As Plaintiffs
  10   have already explained, ECF No. 58 at 5-6, Plaintiffs’ claims are not moot.
  11           1. Ms. L.’s claims are not moot because reunification came as the result of
  12   the government’s voluntary cessation, and is not moot for that reason alone. ECF
  13   No. 58, at 5-6. Indeed, Defendants have not disclaimed their ability to separate
  14   Ms. L. from her child at any moment, and any finding of mootness is especially
  15   unwarranted where a defendant “continues to defend the legality of” its abandoned
  16   practice. Knox v. SEIU, Local 1000, 567 U.S. 298, 307 (2012). Defendants do not
  17   address Plaintiffs’ voluntary cessation argument, which is dispositive here.
  18           Even assuming that Ms. L.’s individual claims were moot, she would still be
  19   an adequate representative for the class claims because both the amended class
  20   complaint and motion for class certification were filed before she was reunited with
  21   her child See ECF No. 32 (Amended Class Complaint); ECF No. 35 (Motion for
  22   Class Certification), both filed March 9. It is settled that where the named
  23   Plaintiffs’ claims are “inherently transitory,” “certification relates back to the filing
  24   of the complaint,” and so the class claims remain justiciable. Chen v. Allstate Ins.
  25   Co., 819 F.3d 1136, 1142-43 (9th Cir. 2016) (quotation marks omitted); see also
  26   Gerstein v. Pugh, 420 U.S. 103, 110 n.11 (1975) (class claims not moot where
  27   named plaintiffs had live claims “[a]t the time the complaint was filed”); County of
  28   Riverside v. McLaughlin, 500 U.S. 44, 51-52 (1991) (same). The rule is of course

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   1   designed to guard against defendants “picking off” the named Plaintiffs in an
   2   action, in a strategic effort to prevent them from ever receiving a ruling on class
   3   certification. See Chen, 819 F.3d at 1147-48; see also Pitts v. Terrible Herbst, Inc.,
   4   653 F.3d 1081, 1091 (9th Cir. 2011). That rationale has particularly acute force
   5   here, where the government controls the timing of relief and access to all the
   6   detained plaintiffs through the country.
   7         Defendants note that although reunification occurred after the filing of the
   8   amended complaint and motion for class certification, Ms. L.’s own release from
   9   detention occurred on March 6, before the filing of the amended complaint and
  10   class certification motion. Defendants argue that Ms. L’s claims therefore “became
  11   moot on March 6, 2018,” and that “her class claims are not saved by the inherently
  12   transitory doctrine.” ECF No. 59 at 7 & n.2. But Ms. L.’s claims were not moot on
  13   March 6 because she had not yet received the relief she sought: reunification with
  14   her child. The relief Plaintiffs seek is not release from detention, but reunification,
  15   even if that means that they remain in detention in a family facility with their child.
  16   See Flagstaff Med. Ctr., Inc. v. Sullivan, 962 F.2d 879, 885 (9th Cir. 1992) (finding
  17   case not moot even though plaintiff had received partial relief).
  18         2. Ms. C.’s case is not moot because she has not yet been reunified.
  19   Moreover, even under the government’s theory, her claims would not be moot
  20   because she herself was not released until after the amended complaint and class
  21   certification motion were filed. ECF No. 59 at 7 n.2. And if reunification does
  22   occur, Ms. C.’s case would still not be moot under the voluntary cessation
  23   exception.
  24         3. The government separately challenges Ms. C.’s adequacy as a class
  25   representative on the ground that the Court lacks venue over her claims. ECF No.
  26   59 at 7. But as Plaintiffs’ opposition to Defendants’ motion to dismiss explains,
  27   only one Plaintiff need establish venue in suits against the federal government. See
  28   ECF No. 58 at 6-9 (citing, inter alia, Railway Labor Execs.’ Ass’n v. ICC, 958 F.2d
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   1   252, 256 (9th Cir. 1991), and Californians for Renewable Energy v. EPA, 2018 WL
   2   1586211, at *5 (N.D. Cal. Mar. 30, 2018)); see also 28 U.S.C. § 1391(e). There is
   3   no dispute that Ms. L. has established venue in this District, and therefore venue
   4   over the entire action—including Ms. C.’s claims—is proper. ECF No. 58 at 6-7.
   5            4. Finally, if the Court deems it necessary, other parents who remain
   6   separated from their children can be substituted as named Plaintiffs, including a
   7   plaintiff detained in this district. See, e.g., Declaration of Mr. U., Ex. 21. At
   8   bottom, the government cannot moot class actions by providing voluntary relief to
   9   named plaintiffs, thereby insulating a widespread practice from meaningful scrutiny
  10   (especially where the government controls access to the plaintiffs).
  11
          II.      PLAINTIFFS HAVE SATISFIED THE COMMONALITY AND
  12               TYPICALITY REQUIREMENTS.
  13            Defendants raise only a single objection to commonality and typicality: that
  14   the government’s decisions to separate families “arise[] from many different factual
  15   situations and so to evaluate this injury the Court would need to examine these
  16   widely varying array of factual situations.” ECF No. 59 at 11. Not only do
  17   Defendants fail to identify any actual material differences among the proposed class
  18   members, they misunderstand Rule 23’s requirements.
  19            As discussed below, Defendants do not actually identify “many different
  20   factual situations.” Thus, even on its own terms, Defendants’ argument is
  21   unpersuasive. More fundamentally, the presence of some factual differences does
  22   not defeat class certification. Here, there are numerous threshold common
  23   questions that are most appropriately addressed in one action, and not in hundreds
  24   of individual cases (even assuming the families could locate attorneys to raise
  25   them). For instance:
  26      • Are Defendants correct that they do not need a justification to separate these
  27            parents and children because there is no due process right at all to be detained
  28            together?

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   1      • If there is a due process right for these parents and children to be detained
   2         together, can it be abridged in circumstances where there has been no
   3         showing that the parent is unfit or presents a danger to the child?
   4      • Are Defendants correct that the TVPRA mandates that they separate families
   5         where the parent is subject to mandatory detention, because a parent in
   6         detention is “unavailable” to care for the child, notwithstanding the existence
   7         of family detention centers?
   8      • Are Defendants correct that separation is permissible based on doubts about
   9         parentage without first offering parents a DNA test?
  10      • Are Defendants correct that detention placement decisions are discretionary
  11         and therefore not subject to review by courts under 8 U.S.C. §
  12         1252(a)(2)(B)(ii) or under 5 U.S.C. § 701(a)(2)?
  13   These are only a few of the common threshold questions presented by this case.
  14   “[A]ll that Rule 23(a)(2) requires is a single significant question of law or fact.”
  15   Abdullah v. U.S. Sec. Assocs, 731 F.3d 952, 957 (9th Cir. 2013) (internal quotation
  16   marks omitted) (emphasis added). Defendants are incorrect that these questions
  17   should all be litigated in hundreds of individual actions. That is true even assuming
  18   that the government is correct that this case presents numerous factual differences
  19   among the class. See Walters v. Reno, 145 F.3d 1032, 1046 (9th Cir. 1998)
  20   (affirming class certification despite “[d]ifferences among the class members with
  21   respect to the merits of their claims”).
  22         In any event, despite Defendants’ assertion that family separation “may result
  23   from a variety of fact-specific scenarios,” ECF No. 59 at 10, they identify only two
  24   such scenarios, both of which are presented by the named Plaintiffs themselves.
  25   Defendants claim that their separation of Ms. L. from S.S. was justified by Ms. L.’s
  26   inability to verify her relationship with her daughter. They also assert that they
  27   separated Ms. C. from her child because of her criminal prosecution. But the
  28   government offers no explanation as to why those varying factual scenarios would
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   1   produce a different answer to the same core question each Plaintiffs ask: Can the
   2   government lawfully detain them apart from their children, without any showing
   3   that they present a danger to their child? See Parsons v. Ryan, 754 F.3d 657, 686
   4   (9th Cir. 2014) (“Rule 23(a)(3) requires only that [the plaintiffs’] claims be ‘typical’
   5   of the class, not that they be identically positioned to each other or to every class
   6   member.”). 2
   7         As a result, “[i]ndividual variation among plaintiffs’ questions of law and
   8   fact does not defeat underlying legal commonality, because ‘the existence of shared
   9   legal issues with divergent factual predicates is sufficient’ to satisfy Rule 23.”
  10   Santillan v. Ashcroft, 2004 WL 2297990, at *10 (N.D. Cal. Oct. 12, 2004) (quoting
  11   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998)). The same is true
  12   of typicality. See, e.g., Hanlon, 150 F.3d at 1020 (under “permissive” typicality
  13   standard, representative claims need only be “reasonably co-extensive with those of
  14   absent class members; they need not be substantially identical”).
  15         These standards are even more liberal in civil rights suits where a class
  16   “challenges a system-wide practice or policy that affects all of the putative class
  17   members.” Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001), overruled on
  18   other grounds by Johnson v. California, 543 U.S. 499, 504-05 (2005). Such suits
  19   “by their very nature often present common questions satisfying Rule 23(a)(2).”
  20   7A Wright, Miller & Kane, Federal Practice & Procedure § 1763 (3d ed. 2017).
  21   See, e.g., Califano v. Yamasaki, 442 U.S. 682, 701 (1979) (approving class
  22   certification of due process challenge to benefits denials); Powers v. Hamilton Cty.
  23   Pub. Def. Comm'n, 501 F.3d 592, 619 (6th Cir. 2007) (affirming class certification
  24   of due process claim because “cases alleging a single course of wrongful conduct
  25
       2
  26    As Plaintiffs have explained, they do not challenge whether Ms. C. was lawfully
       prosecuted, nor do they challenge the legality of separating her from her child while
  27   she was in criminal custody. Ms. C.’s claim is that Defendants could not engage in
  28   separation when she was back in ICE custody and could then have been detained
       with her son in a family detention center.
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   1   are particularly well-suited to class certification”); Saravia v. Sessions, 280 F.
   2   Supp. 3d 1168, 1203 (N.D. Cal. 2017) (“The procedural due process claim for
   3   which [the plaintiff] seeks class-wide preliminary injunctive relief is amenable to
   4   common answers.”).
   5          In short, class certification is warranted because of the numerous common
   6   questions and because Plaintiffs challenge a systemic government practice and seek
   7   common relief: a prohibition on keeping them separate from their children while
   8   they are detained in immigration custody absent a showing that they are a danger to
   9   their children. See Parsons, 754 F.3d at 681 (recognizing that “the commonality
  10   requirement can be satisfied by proof of the existence of systemic policies and
  11   practices”); Rosas v. Baca, No. 12-cv-0428, 2012 WL 2061694, at *3 (C.D. Cal.
  12   June 7, 2012) (“In a civil rights suit such as this one . . . commonality is satisfied
  13   where the lawsuit challenges a systemwide practice or policy that affects all of the
  14   putative class members.”) (citation omitted).
  15       III.   PLAINTIFFS SATISFY THE REQUIREMENTS OF RULE 23(b)(2).
  16          Defendants incorrectly argue that Plaintiffs’ class definition is deficient.
  17   ECF No. 59 at 13-14. But class members are easily identified: parents who are
  18   detained by DHS separately from their children without a showing that the parent
  19   presents a danger to the child. Notably, the only supposed problem Defendants
  20   identify is in determining when individuals like Ms. C.—who were criminally
  21   prosecuted—would fall into the class. Id. at 14. But the solution to that “problem”
  22   is simple: they become part of the class when they are in the custody of DHS
  23   without their children. See ECF No. 58 at 20. Therefore, since the end of Ms. C.’s
  24   criminal sentence, when she was returned to ICE custody, she has been within the
  25   class definition.3
  26   3
         Defendants also cite Jennings v. Rodriguez, 138 S.Ct. 830, 851 (Feb. 27, 2018),
  27   ECF No. 59 at 12 n.3, but acknowledge that the Supreme Court merely remanded
  28   that case to the Ninth Circuit for reconsideration of class certification.

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    1         Defendants also contend that certification should be denied because relief
    2   could apply differently to individuals like Ms. C. ECF No. 59 at 14. Specifically,
    3   Defendants note that while Ms. L. was held continuously in DHS custody, Ms. C.
    4   was already separated from her child when she was returned to DHS custody from
    5   criminal custody. But, despite this difference, “a single injunction or declaratory
    6   judgment would provide relief to each member of the class.” Wal-Mart Stores, Inc.
    7   v. Dukes, 564 U.S. 338, 360 (2011); see also Parsons, 754 F.3d at 688 (approving
    8   of Rule 23(b)(2) class because “[w]hile each of the . . . policies and practices may
    9   not affect every member of the proposed class . . . in exactly the same way, they
   10   constitute shared grounds for all [members] in the proposed class”); Marisol A. v.
   11   Giuliani, 126 F.3d 372, 378 (2d Cir. 1997) (affirming Rule 23(b)(2) certification
   12   notwithstanding purportedly “unique circumstances of each plaintiff’s experience
   13   with the child welfare system”). Both Ms. L. and Ms. C. would obtain relief from a
   14   declaration and injunction that separation is unlawful absent a showing that the
   15   parent presents a danger to the child; in Ms. L.’s case it would mean that the
   16   separation should never have occurred, and in Ms. C.’s case it would be she should
   17   have been reunited once she returned to DHS custody.
   18                                     CONCLUSION
   19         Plaintiffs’ motion for class certification should be granted.
   20

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    1   Dated: April 27, 2018               Respectfully Submitted,
    2                                       /s/ Lee Gelernt
    3   Bardis Vakili (SBN 247783)          Lee Gelernt*
        ACLU FOUNDATION OF SAN              Judy Rabinovitz*
    4   DIEGO & IMPERIAL COUNTIES           Anand Balakrishnan*
    5   P.O. Box 87131                      AMERICAN CIVIL LIBERTIES
        San Diego, CA 92138-7131            UNION FOUNDATION
    6   T: (619) 398-4485                   IMMIGRANTS’ RIGHTS PROJECT
    7   F: (619) 232-0036                   125 Broad St., 18th Floor
        bvakili@aclusandiego.org            New York, NY 10004
    8                                       T: (212) 549-2660
    9   Spencer E. Amdur (SBN 320069)       F: (212) 549-2654
        AMERICAN CIVIL LIBERTIES            lgelernt@aclu.org
   10   UNION FOUNDATION                    jrabinovitz@aclu.org
   11   IMMIGRANTS’ RIGHTS PROJECT          abalakrishnan@aclu.org
        39 Drumm Street
   12   San Francisco, CA 94111
   13   T: (415) 343-1198
        F: (415) 395-0950
   14   samdur@aclu.org
   15

   16

   17   *Admitted Pro Hac Vice
   18

   19

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    1                           CERTIFICATE OF SERVICE
    2         I hereby certify that on April 27, 2018, I electronically filed the foregoing
    3   with the Clerk for the United States District Court for the Southern District of
    4   California by using the appellate CM/ECF system. A true and correct copy of this
    5   brief has been served via the Court’s CM/ECF system on all counsel of record.
    6

    7                                                /s/ Lee Gelernt
                                                     Lee Gelernt, Esq.
    8

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 1   Ms. L., et al., v. U.S. Immigration and Customs Enforcement, et al.
 2          EXHIBITS TO REPLY IN SUPPORT OF MOTION FOR CLASS
 3                           CERTIFICATION

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 8    24          Declaration of Ms. J. I. L.                              27-34
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                   EXHIBIT 21




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      Lee Gelernt*                              Bardis Vakili (SBN 24 7783)
      Judy Rabinovitz*                          ACLU FOUNDATION OF SAN
 2    Anand Balakrishnan*                       DIEGO & IMPERIAL COUNTIES
      AMERICAN CIVIL LIBERTIES                  P.O. Box 87131
 3    UNION FOUNDATION                          San Diego, CA 92138-713 l
      IMMIGRANTS' RIGHTS PROJECT                T: (619~398-4485
 4    125 Broad St., 18th Floor                 F: (619 232-0036
      New York, NY l 0004                       bvakili aclusandiego.org
 5    T: (212) 549-2660
      F: (212)_ 549-2654
 6  lgelernt@aclu.org
   jrabinov1tz@aclu.org
 7 abalakrishnan@aclu.org
 8                                         *Admitted Pro Hae Vice
      Attorneys for Petitioners-Plaintiffs
 9    Additional counsel on next page
10                           UNITED STA TES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
11
        s. L., et al.,                                    Case No. 18-cv-00428-DMS-MDD
12                         Petitioners-Plaintiffs,
13
                                                          Date Filed: April 16, 20 J 8
14       .S. Immigration and Customs Enforcement
       " ICE"); U.S. Department of Homeland Security
15     "DHS"); U.S. Customs and Border Protection
       "CBP"); U.S. Citizenship and Immigration           DECLARATION OF Ms. G.
16    Services ("USCIS"); U.S. Department of Health
17
       nd Human Services ("HHS"); Office of
        efugee Resettlement ("ORR"); Thomas
18       oman, Acting Director of ICE; Greg
         rchambeault, San Diego Field Office Director,    CLASS ACTION
19     CE; Joseph Greene, San Diego Assistant Field
         ffice Director, ICE; Adrian P. Macias, El Paso
20      ield Director, ICE; Frances M. Jackson, El Paso   Hearing Date: May 4, 2018
         ssistant Field Office Director, ICE; Kirstjen    Time: TBD
21
         ielsen, Secretary of DHS; Jefferson Beauregard   Courtroom: 13A
22    Sessions III, Attorney General of the United        Judge: Hon. Dana Sabraw
        tates; L. Francis Cissna, Director of USCIS;
23       evin K. McAleenan, Acting Commissioner of
24
        BP; Pete Flores, San Diego Field Director,
        BP; Hector A. Mancha Jr., El Paso Field
25       irector, CBP; Alex Azar, Secretary of the
         epartment of Health and Human Services;
26    Scott Lloyd, Director of the Office of Refugee
        esettlement,
27
28                          Respondents-Defendants.



                                         Exh. 22, Page 18
     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1172 Page 21 of 49



      Spencer E. Amdur (SBN 320069)
      AMERICAN CIVIL LIBERTIES UNION FOUNDATION
 2    IMMIGRANTS' RIGHTS PROJECT
 3    39 Drumm Street
      San Francisco, CA 94111
 4    T: (415)343-1198
      F: (415) 395-0950
 5    samdur@aclu.org
 6

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                                     Exh. 22, Page 19
     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1173 Page 22 of 49



            I,   Ms. G.                    , make the following declaration based on my
 2
      personal knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. §
 3

4     1746 that the following is true and correct:

 5     I.   I am a citizen of Mexico and am seeking asylum in the United States. When I
 6
      came to the United States, I asked for asylum at the border in Nogales, Arizona I am
 7

 8    now in immigration proceedings before an immigration judge to seek asylum .r
 9
      2.    I came to the United States on or around March I, 2018 with my biological
10
      daughter, Y-M-N-P, who is six years old, and blind, and my biological son, J-P-P-G,
II

12    who is four years old. Both are from Mexico and seeking asylum.
13
      3.    When we came to the United States, we reported at Nogales, Arizona and said
14
15    that I wanted to seek asylum.

16    4.    Shortly after arriving, I was told that I was going to be separated from my
17
      daughter. There were no doubts expressed that I was my daughter' s biological mother
18
19    and I have a birth certificate to show our relationship. They did not say that I was a

20
      danger to my daughter or was abusive.
21
      5.    I was sent to the Eloy Detention Center around March 5, 2018. My children
22
23    were sent to an ORR facility in Phoenix, Ari zona
24
      6.    I have not seen my children for one and a half months. I worry about them
25

26
      constantly and don't know when I will see them. We have talked on the phone, at first

27

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                                                                                      18cv0428
                                         Exh. 22, Page 20
     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1174 Page 23 of 49



      once a week, and now twice a week. They are constantly asking me when we wi 11 be
 2
      together again.
 3
 4    7.      I know that Y-M-N-P- and J-P-P-G are having a very hard time detained all by

 5    themselves without me. They are only six and four years-old in a strange country and
 6
      they need their parent.
 7
 8    8.      I hope I can be with my children very soon. I miss them and am scared for
 9
      them.
10
      9.      I declare under penalty of perjury under the laws of the United States of
11
12    America that the foregoing is true and correct, based on my personal knowledge.
13                                        'l-3
      Executed in Eloy, Arizona, April ~' 2018.
14
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                                                          I


17                                                            Ms. G.
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                                                                                      18cv0428
                                          Exh. 22, Page 21
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                   EXHIBIT 23




                                Exh. 23, Page 22
     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1176 Page 25 of 49



        Lee Gelemt*                                Bardis Vakili (SBN 24 7783)
        Judy Rabinovitz*                           ACLU FOUNDATION OF SAN
 2      Anand Balakrishnan *                       DIEGO & IMPERIAL COUNTIES
        AMERICAN CIVIL LIBERTIES                   P.O. Box 87131
 3      UNION FOUNDATION                           San Diego,,_ CA 92138-7131
        IMMIGRANTS' RIGHTS PROJECT                 T: (619~3'J8-4485
 4      125 Broad ~tri 18th Floor
                         T                         F: (619 232-0036
        New York, l~ r 10004                       bvakili aclusandiego.org
 5      T: f212) 549-2660
        F: 212} 549-2654
 6      lge ernt@aclu.org
       j rabinovztz@aclu.org
 7      abalakrishnan@aclu.org
 8      Attorneys for Petitioners-Plaintiffs *Admitted Pro Hae Vice
 9      Additional counsel on next page
10                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
11
       Ms. L., et al.,                                      Case No. l 8-cv-00428-DMS-MDD
12                           P etitioners-PLaintiffs,
13     V.
                                                            Date Filed: April 24, 2018
14     U.S. Immigration and Customs Enforcement
       ("ICE"); U.S. Department of Homeland Security
15     ("DHS"); U.S. Customs and Border Protection
       ("CBP"); U.S. Citizenship and Immigration            DECLARATION OF
16     Services ("USCIS"); U.S. Department of Health         Ms. M. M. A. L.
17
       and Human Services ("HHS"); Office of
       Refugee Resettlement ("ORR"); Thomas
18     Homan, Acting Director of ICE; Greg
       Archambeault, San Diego Field Office Director,       CLASS ACTION
19     ICE; Joseph Greene, San Diego Assistant Field
       Office Director, ICE; Adrian P. Macias, El Paso
20     Field Director, ICE; Frances M. Jackson, El Paso     Hearing Date: May 4, 2018
       Assistant Field Office Director, ICE; Kirstjen       Time: TBD
21
       Nielsen, Secretary of DHS; Jefferson Beauregard      Courtroom: 13A
22     Sessions III, Attorney General of the United         Judge: Hon. Dana Sabraw
       States; L. Francis Cissna, Director of USCIS;
23     Kevin K. McAleenan, Acting Commissioner of
24     CBP; Pete Flores, San Diego Field Director,
       CBP; Hector A. Mancha Jr., El Paso Field
25     Director, CBP; Alex Azar, Secretary of the
       Department of Health and Human Services;
26     Scott Lloyd, Director of the Office of Refugee
       Resettlement,
27

28
                              Respondents-Defendants.



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     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1177 Page 26 of 49



 1 Spencer E. Amdur (SBN 320069)
   AMERICAN CIVIL LIBERTIES UNION FOUNDATION
 2 IMMIGRANTS ' RIGHTS PROJECT
 3
   39 Drumm Street
   San Francisco, CA 94111
 4 T: (415) 343-1198
   F: (415) 395-0950
 5 samdur@aclu.org
 6

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                                     Exh. 23, Page 24
     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1178 Page 27 of 49



             I,   Ms. M. M. A. L.             , make the following declaration based on my
 2
       personal knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. §
 3

 4     1746 that the following is true and correct:

 5     1.    I am a citizen of Guatemala and am seeking asylum in the United States. When
 6
       I came to the United States, I presented myself at the border at San Ysidro, California
 7
 8     asking for asylum.
 9
       1.    I came to the United States on or around April 20, 2018 with my biological son,
10
       E-Z-G-A. My child is from Guatemala and seeking asylum.
11
12     2.    When we came to the United States, we reported at San Ysidro, California, and
13
       said that I wanted to seek asylum.
14
15     3.    Shortly after arriving, I was told that I was going to be separated from my son.

16     There were no doubts expressed that I was my son's biological mother and I have a
17
       birth certificate to show our relationship. They did not say that I was a danger to my
18
19     son or was abusive.
20
       4.    I was sent to the Eloy Detention Center in April 2018. My children were sent to
21
       an ORR facility in Phoenix, Arizona.
22
23     5.    I have not seen my children for 1 month. I worry about E-Z-G-A constantly
24
       and don't know when I will see him. We have talked on the phone only once. I was
25

26     given a number to call, but no one answers the phone. I hope I can be with my child

27     very soon. I miss him and am scared for him.
28

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     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1179 Page 28 of 49



       7.    I declare under penalty of perjury under the laws of the United States of
 2
       America that the foregoing is true and correct, based on my personal knowledge.
 3
 4     Executed in April 24, 2018.

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                                                                       .
                                                           Ms. M. M. A. L.
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                                        Exh. 23, Page 26
Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1180 Page 29 of 49




                   EXHIBIT 24




                                Exh. 24, Page 27
     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1181 Page 30 of 49




 1     Lee Gelemt*                                Bardis Vakili (SBN 247783)
       Judy Rabinovitz*                           ACLU FOUNbATION OF SAN
 2     Anand Balakrishnan*                        DIEGO & IMPERIAL COUNTIES
       AMERICAN CIVIL LIBERTIES                   P.O. Box 87131
 3     UNION FOUNDATION                           San Diego, CA 92138-7131
       IMMIGRANTS' RIGHTS PROJECT                 T: (619) 398-4485
 4      125 Broad St., 18th Floor                 F: (619} 232-0036
       New York, NY 10004                         bvakili@aclusandiego.org
 5     T: (212) 549-2660
       F: (212) 549-2654
 6      lgelernt@aclu.org
       jrabinovztz@aclu.org
 7     abalakrishnan@aclu.org
 8
       Attorneys for Petitioners-Plaintiffs        *Admitted Pro Hae Vice
 9     Additional counsel on next page
10                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
11
       Ms. L., et al.,                                      Case No. 18-cv-00428-DMS-MDD
12
                             Petitioners-Plaintiffs,
13     v.
                                                            Date Filed: April 3, 2018
14     U.S. Immigration and Customs Enforcement
       ("ICE"); U.S. Department of Homeland Security
15     ("DHS"); U.S. Customs and Border Protection
       ("CBP"); U.S. Citizenship and Immigration            DECLARATION OF
16     Services ("USCIS"); U.S. Department of Health
17
       and Human Services ("HHS"); Office of                 Ms. J. I. L
       Refugee Resettlement ("ORR"); Thomas
18     Homan, Acting Director of ICE; Greg
       Archambeault, San Diego Field Office Director,
19     ICE; Joseph Greene, San Diego Assistant Field
       Office Director, ICE; Adrian P. Macias, El Paso      CLASS ACTION
20     Field Director, ICE; Frances M. Jackson, El Paso
21     Assistant Field Office Director, ICE; Kirstjen
       Nielsen, Secretary ofDHS; Jefferson Beauregard       Hearing Date: May 4, 2018
22     Sessions III, Attorney General of the United         Time: TBD
       States; L. Francis Cissna, Director ofUSCIS;         Courtroom: 13A
23     Kevin K. McAleenan, Acting Commissioner of           Judge: Hon. Dana Sabraw
24
       CBP; Pete Flores, San Diego Field Director,
       CBP; Hector A. Mancha Jr., El Paso Field
25     Director, CBP; Alex Azar, Secretary of the
       Department of Health and Human Services;
26     Scott Lloyd, Director of the Office of Refugee
       Resettlement,
27

28                            Respondents-Defendants.


                                         Exh. 24, Page 28
     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1182 Page 31 of 49




 1     Spencer E. Amdur (SBN 320069)
       AMERICAN CIVIL LIBERTIES UNION FOUNDATION
 2     IMMIGRANTS' RIGHTS PROJECT
 3     39 Drumm Street
       San Francisco, CA 94111
 4     T: (415)343-1198
       F: (415) 395-0950
 5     samdur@aclu.org
 6

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                                     Exh. 24, Page 29
     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1183 Page 32 of 49




 1     1.    I,   Ms. J. I. L.                   , make the following declaration based on my
 2
      personal knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. §
 3
 4     1746 that the following is true and correct:

 5     2.    I am a citizen of El Salvador and am seeking asylum in the United States. I had
 6
       my initial asylum interview ("credible fear interview") on March 27 or 28, 2018. I
 7

 8    received a negative finding on my credible fear interview, and I immediately asked for
 9
       review of the decision by the immigration judge. I have yet to receive a date for my
10
       appearance before an immigration judge to review the negative finding. I hope to have
11

12    the opportunity to present my asylum case in immigration court. My children and I
13
       fled El Salvador, and I fear that we will be killed if we return there.
14
15     3.    I arrived at the Texas/Mexico border with my two biological sons on March 13,

16     2018, seeking protection from violence in El Salvador. My son J.S.P.L. was born on
17
      August 3, 2007 and is ten years old. My son D.A.P.L. was born on March 30, 2014
18
19     and is four years old.
20
       4.    My sons and I were apprehended with three other women near Roma, Texas by
21
      border officials on the morning of March 13th, 2018. The officers put us in the back of
22

23    their vehicle and drove us to the border station. Everyone referred to the station as an
24
      "icebox" or "hie/era."
25

26     5.    At the hielera, the officers asked for my information and took my fingerprints.

27    Later, one of the officers said that they believed I had ties to gangs back to El
28


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 1     Salvador. I have never been a part of or aided the gangs in El Salvador. In fact, gang
 2
      members severely beat me in front of my children for refusing to comply with their
 3

 4    orders. My ex-partner is in prison back in El Salvador for involvement with the

 5    gangs, but I did not support his involvement, which put my children and me in danger.
 6
      6.     Another officer in the hielera told me that I was going to be transferred to the
 7

 8    Immigration and Customs Enforcement ("ICE") Laredo Detention Center in Laredo,
 9
      Texas. However, J.S.P.L. and D.A.P.L. were not going to be transferred with me. The
10
      officer said that children were not allowed at the Laredo facility.
11

12     7.    That day, March 13, a woman came to pick up my kids. I was given only five
13
      minutes to say goodbye before J.S.P.L. and D.A.P.L. were tom from me. My babies
14
15    started crying when they found out we were going to be separated. It breaks my heart

16    to remember my youngest wail, "Why do I have to leave? Marni, I want to stay with
17
      you!" My youngest cried and screamed in protest because he did not want to leave my
18
19    side. My oldest son was also confused and did not understand what was happening. In
20
      tears myself, I asked my boys to be brave, and I promised we would be together again
21
      soon. I begged the woman who took my children to keep them together so they could
22
23    at least have each other. She promised she would, and she left with my boys. I was
24
      transferred to the Laredo Detention Center. I have been in this detention center since
25

26    then and am heartbroken.

27

28


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 1     8.    It has been 18 days since I have spoken to my boys. I do not know where my
 2
       sons are, and I am very worried about them. I called the Office of Refugee
 3

 4    Resettlement to learn about my children, but the office only told me that the boys are

 5 ·in a shelter in San Antonio.

 6
       9.    The separation from my sons has been incredibly hard, because I have never
 7

 8    been away from them before. I do not want my children to think that I abandoned
 9
      them. J.S.P.L. and D.A.P.L. are so attached to me. D.A.P.L. used to sleep in bed with
10
      me every night while J.S.P.L. slept in his own bed in the same room. Back in El
11

12     Salvador, my kids became nervous every time I was out of their sight. They would
13
       calm down as soon as they saw me, and I assured them that I would not leave them. It
14
15    hurts me to think how anxious and distressed they must be without me.

l6     10.   I am particularly worried about my older son J.S.P.L. who was not doing well
17
       back in El Salvador after he saw MS gang members beat me and threaten me. He did
18
19     not even want to leave my side to go to the restroom. Before the MS started
20
       threatening us, J.S.P.L. was a normal, happy child. He loved to play and study. School
21
       was his favorite part of his day. After the MS's threats and beatings, he did not want
22
23    to go to school anymore, because he was afraid he would not find me when he came
24
       back home. Now, his worst fear has come true; I am not by his side. He must be worse
25

26     now that he is suffering all by himself. I am also very worried about my younger son

27

28


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     Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1186 Page 35 of 49




 1     because he is only four years old. Both of my sons need their mother. I do not know
 2
       if they are eating, sleeping, or even going to the restroom.
 3

 4     11.     I brought my sons to the United States to seek safety not to leave them without

 5     their mother. I have heard that my two sons may have been separated and placed in
 6
       different foster homes. If this is true, I am even more worried, because now they are
 7
 8     with strangers, away from each other.
 9
       12.     I am desperate to be reunited with both of my sons. I came with the hope that
10
       we could come here and live safely together. Instead, I am imprisoned while my two
11

12     boys are alone among strangers.
13
       13.     I would like to be released and reunited with my sons so we can live with
14
15     family in the United States while we pursue our asylum cases. I have an aunt in

l6     Virginia who is a United States citizen. If we cannot be released, I would rather be
17
       detained together.
18
19     14.     I hope I can be reunited with my sons very soon. I pray that people put
20
       themselves in my shoes and think about how difficult it must be for me as a mother to
21
       be away from my children. I miss J.S.P.L. and D.A.P.L., and I am scared for my little
22

23     boys.
24
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                                          Exh. 24, Page 33                               18cv0428
Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1187 Page 36 of 49




 1   I declare under penalty of perjury under the laws of the United States of America that
 2
     the foregoing is true and correct, based on my personal knowledge. Executed in
 3
 4   Laredo, Texas, on April 3, 2018.
 5

 6

 7                                                Ms. J. I. L.
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                   EXHIBIT 25




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Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1191 Page 40 of 49




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Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1192 Page 41 of 49




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Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1193 Page 42 of 49




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                   EXHIBIT 26




                                Exh. 26, Page 42
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 1   Lee Gelernt*                              Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                          ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                       DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES                  P.O. Box 87131
 3   UNION FOUNDATION                          San Diego, CA 92138-7131
     IMMIGRANTS’ RIGHTS PROJECT                T: (619) 398-4485
 4   125 Broad St., 18th Floor                 F: (619) 232-0036
     New York, NY 10004                        bvakili@aclusandiego.org
 5   T: (212) 549-2660
     F: (212) 549-2654
 6   lgelernt@aclu.org
     jrabinovitz@aclu.org
 7   abalakrishnan@aclu.org
 8
     Attorneys for Petitioners-Plaintiffs *Admitted Pro Hac Vice
 9   Additional counsel on next page
10                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
11
     Ms. L., et al.,
12
                          Petitioners-Plaintiffs,        Case No. 18-cv-00428-DMS-MDD
13 v.
14 U.S. Immigration and Customs Enforcement
     (“ICE”); U.S. Department of Homeland Security
15 (“DHS”); U.S. Customs and Border Protection
     (“CBP”); U.S. Citizenship and Immigration           DECLARATION OF Mr. A.
16 Services (“USCIS”); U.S. Department of Health
17 and Human Services (“HHS”); Office of
     Refugee Resettlement (“ORR”); Thomas
18   Homan, Acting Director of ICE; Greg                 CLASS ACTION
     Archambeault, San Diego Field Office Director,
19   ICE; Joseph Greene, San Diego Assistant Field
     Office Director, ICE; Adrian P. Macias, El Paso     Hearing Date: May 4, 2018
20                                                       Time: 1:30 pm
     Field Director, ICE; Frances M. Jackson, El Paso
21   Assistant Field Office Director, ICE; Kirstjen      Courtroom: 13A
     Nielsen, Secretary of DHS; Jefferson Beauregard     Judge: Hon. Dana Sabraw
22   Sessions III, Attorney General of the United
     States; L. Francis Cissna, Director of USCIS;
23   Kevin K. McAleenan, Acting Commissioner of
24   CBP; Pete Flores, San Diego Field Director,
     CBP; Hector A. Mancha Jr., El Paso Field
25   Director, CBP; Alex Azar, Secretary of the
     Department of Health and Human Services;
26   Scott Lloyd, Director of the Office of Refugee
     Resettlement,
27
28                         Respondents-Defendants.



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 1   Spencer E. Amdur (SBN 320069)
     AMERICAN CIVIL LIBERTIES UNION FOUNDATION
 2   IMMIGRANTS’ RIGHTS PROJECT
 3   39 Drumm Street
     San Francisco, CA 94111
 4   T: (415) 343-1198
     F: (415) 395-0950
 5   samdur@aclu.org
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 Case 3:18-cv-00428-DMS-MDD Document 62 Filed 04/27/18 PageID.1198 Page 47 of 49



 1   1.    I, Mr. A. , make the following declaration based on my personal knowledge and
 2
     declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is
 3
 4   true and correct:
 5   2.    I am a citizen of Honduras and came to the United States seeking asylum. I
 6
     received a negative determination of my initial asylum interview (“credible fear
 7
 8   interview”), and an immigration judge affirmed it so I have a final order of removal
 9
     but have not been deported.
10
     3.    I came to the United States on or around February 18, 2018 with my biological
11
12   son, R.Z.A.R., who is three years old. He is also from Honduras and seeking asylum.
13
     4.    When we came to the United States, we turned ourselves in at the border in
14
15   Brownsville, Texas, and I said that I wanted to seek asylum.
16   5.    Shortly after arriving, I was told that I was going to be separated from my son.
17
     There were no doubts expressed that I was my son’s biological father and I have a
18
19   birth certificate to show our relationship. I also had my son’s vaccination records and
20
     his passport. They did not tell me that I was a danger to my son or was abusive. They
21
     told me that they had to separate me from my son because I had a prior removal order
22
23   and they did not have any places to detain fathers and children.
24
     6.    I was sent to the South Texas Detention Center around February 19, 2018. My
25
26   son was sent to an ORR facility in or near El Paso, Texas.
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 1   7.    I have not seen him for over two months. I worry about R.Z.A.R. constantly
 2
     and don't know when I will see him. We have talked on the phone several times, but I
 3
 4   do not have many minutes and I do not always get an answer when I call.
 5   8.    I know that R. is having a very hard time detained all by himself without me.
 6
     My son has already suffered a lot because his mother disappeared about six months
 7
 8   ago. He is too young to understand that she was taken from us, but he knows she is
 9
     gone and he misses her. That has been very hard on him. He is only a three-year-old in
10
     a strange country and needs his parent.
11
12   9.    I hope I can be with my son very soon. I miss him and am scared for him.
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                                          Mr. A.




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